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    IT IS ORDERED as set forth below:



    Date: December 9, 2021
                                                            _________________________________

                                                                     Barbara Ellis-Monro
                                                                U.S. Bankruptcy Court Judge

  ________________________________________________________________

                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


 IN RE:                                          :           CASE NO. 09-61855-BEM
                                                 :
 TODD ANTHONY SHAW,                              :           CHAPTER 7
                                                 :
          Debtor.                                :
 ____________________________________:

         ORDER GRANTING (A) THIRD APPLICATION OF TRUSTEE FOR
  INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES; (B) SECOND
       INTERIM APPLICATION OF ARNALL GOLDEN GREGORY LLP FOR
  ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES; AND
 (C) THIRD INTERIM APPLICATION FOR ALLOWANCE OF COMPENSATION AND
  REIMBURSEMENT OF EXPENSES OF HAYS FINANCIAL CONSULTING, LLC, AS
                 ACCOUNTANTS FOR CHAPTER 7 TRUSTEE

          On November 9, 2021, S. Gregory Hays, Chapter 7 Trustee for Todd Anthony Shaw

 (“Trustee”), filed his third interim application [Doc. No. 229] (the “Trustee Application”) for

 allowance of interim compensation in the amount of $13,243.77 and reimbursement of expenses in

 the amount of $250.11. Also on November 9, 2021, Arnall Golden Gregory LLP (“AGG”), as

 attorneys for Trustee, filed its second interim application [Doc. No. 228] (the “AGG Application”)

 for allowance of interim compensation in the amount of $30,295.00 and reimbursement of expenses


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 in the amount of $414.54. And, again on November 9, 2021, Hays Financial Consulting, LLC

 (“HFC”), as accountants for Trustee, filed its third interim application [Doc. No. 230] (the “HFC

 Application” together with the Trustee Application and the AGG Application, the “Fee

 Applications”) for allowance of interim compensation in the amount of $15,495.00 and

 reimbursement of expenses in the amount of $180.16.

         On November 10, 2021, Trustee filed a Notice of Pleading, Deadline to Object, and for

 Hearing [Doc. No. 232] (the “Notice”), in accordance with General Order No. 24-2018, and

 setting hearings on the Fee Applications on December 14, 2021 (the “Hearing”). Counsel for

 Trustee asserts that he served the Notice on all requisite parties in interest. [Doc. No. 233].

         On November 12, 2021, Trustee filed an Amended Notice of Pleading, Deadline to

 Object, and for Hearing [Doc. No. 234] (the “Amended Notice”), again in accordance with

 General Order No. 24-2018. Counsel for Trustee certifies that he served the Amended Notice on

 all requisite parties in interest. [Doc. No. 235].

         The Amended Notice provided notice of the opportunity to object and for hearing

 pursuant to the procedures in General Order No. 24-2018. No objection to the Fee Applications

 was filed prior to the objection deadline provided in the Amended Notice.

         The services sought to be compensated in the Fee Applications have been evaluated under

 11 U.S.C. §§ 326, 330, and 331. The compensation requested by Trustee is equal to the statutory

 fee provided in 11 U.S.C. §326, and appears reasonable under the circumstances.                   The

 compensation of Trustee’s professionals is reasonable under the circumstances.             Under the

 principles set forth in Norman v. Housing Authority of City of Montgomery, 836 F.2d 1292 (11th

 Cir. 1988), and this Court’s knowledge of prevailing market rates and an evaluation of the skill,

 experience, and reputation of the professional applicants, the hourly rates, which they seek to


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 charge, are reasonable.   Review of the Fee Applications shows the hours expended were

 reasonable. The Court further finds that the expenses, for which reimbursement is sought, were

 reasonable and necessary in rendering the services. No factors are present in this case that

 require reduction or enhancement of the lodestar. Accordingly, and for good cause shown, it is

 hereby

          ORDERED that the Fee Applications are GRANTED. It is further

          ORDERED that Trustee is allowed compensation in the amount of $13,243.77 plus

 $250.11 as reimbursement for expenses. It is further

          ORDERED that HFC is allowed compensation in the amount of $15,495.00 plus

 $180.16 as reimbursement for expenses. It is further

          ORDERED that AGG is allowed compensation in the amount of $30,295.00 plus

 $414.54 as reimbursement for expenses. It is further

          ORDERED that the Trustee is authorized to pay the full amount of the awarded

 compensation and expenses approved in this Order, subject to Trustee’s making the interim

 distributions that he requested in his Motion for Authority to Make Second Interim Distribution

 [Doc. No. 227].

                                    [END OF DOCUMENT]

 Order prepared and presented by:

 ARNALL GOLDEN GREGORY LLP
 Attorneys for Trustee

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 Identification of parties to be served:

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